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                            UNITED STATES DISTRICT COURT

                           WESTERN DISTRICT OF LOUISIANA



KENNETH BERNARD
           Plaintiff
                                                           CASE NO. 15-02541
VERSUS
                                                           JUDGE RICHARD T. HAIK


DOLGENCORP, LLC dba                                        MAGISTRATE PATRICK
                                                           HANNA
DOLLAR GENERAL AND
ABC INSURANCE COMPANY
                                                           JURY DEMANDED
*****************************




                                            ANSWER



TO:     The Honorable Judges
        of the United States District Court
        for the Western District of Louisiana

        NOW INTO COURT, through undersigned counsel, comes defendant, DG
LOUISIANA, LLC (improperly captioned as Dolgencorp, LLC), which now for answers to the

plaintiffs Petition for Damages and First Supplemental and Amending Petition for Damages as
follows:




       Defendant denies the allegations in Paragraph I ofplaintiffs Petition for Damages. DG
Louisiana, LLC, isa foreign limited liability company authorized to do and doing business in the
State of Louisiana.
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       Defendant denies the allegations contained in paragraph II of plaintiffs Petition for

Damages.

                                              3.


       Defendant denies the allegations contained in paragraph III of plaintiffs Petition for

Damages.

                                              4.


       Defendant denies the allegations contained in paragraph IV of plaintiffs Petition for

Damages, including all subparts.

                                              5.


       Defendant denies the allegations contained in paragraph V of plaintiffs Petition for

Damages.

                                              6.


       Defendant denies the allegations contained in paragraph VI of plaintiffs Petition for

Damages. Further, Paragraph 6 of plaintiffs Petition for Damages erroneously calls for a legal

conclusion.


                                              7.


       Defendant denies the allegations contained in paragraph VII of plaintiffs Petition for

Damages, including all subparts.

                                              8.


       Defendant denies the allegations contained in paragraph VIII of plaintiffs Petition for

Damages, including all subparts.




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                                               9.


       Defendant denies the allegations contained in paragraph IX of plaintiffs Petition for

Damages, including all subparts.

                                              10.


       Defendant denies the allegations contained in paragraph X of plaintiffs Petition for

Damages.

                                              11.


       Defendant denies the allegations contained in paragraph XI of plaintiffs Petition for

Damages.

                                              12.


       Defendant denies the allegations contained in the prayer for relief of plaintiffs Petition

for Damages.

       FURTHER ANSWERING, DG LOUISIANA, LLC, answers plaintiffs First

Supplemental and Amending Petition for Damages:

                                               13.


       The allegations contained in Paragraph X of plaintiff s First Supplemental and Amending

Petition for Damages.

                                               14.


       The allegations contained in the prayer for relief of plaintiffs First Supplemental and

Amending Petition for Damages are denied.
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                                                 15.


       FURTHER ANSWERING, defendant avers that the subject injury occurred prior to the

plaintiff coming into the Dollar General Store in question, and that he did not suffer the injury

while within the store on the date as alleged in his Petition.

                                                 16.


       FURTHER ANSWERING, defendant avers the plaintiff herein has failed to mitigate his

damages and as such any damages sought, which are specifically denied, should be reduced

accordingly.

                                                 17.


       FURTHER ANSWERING, defendant avers that it is entitled to all of the protections and

affirmative defenses afforded to it pursuant to L.S.A.-R.S. 9:2800.6, et sec, including, but not

limited to, the affirmative defense that there did not exist a dangerous or defective condition on

defendant's premises as alleged by the plaintiff herein; defendant had no actual or constructive

notice of any dangerous or defective condition which allegedly existed on the premises on the

date in question; and defendant did not create the alleged defective or dangerous condition

alleged to have caused injuries alleged in plaintiffs Petition for Damages.

                                                 18.


       FURTHER ANSWERING, defendant avers that the subject injury and any condition for

which the plaintiff sought treatment preexisted the date in question as alleged in the Petition, or
occurred at a place and time which is different than alleged in plaintiffs Petition for Damages

and not on defendant's premises. Therefore, defendant avers that any treatment for which the
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plaintiff may have sought and received is not related to any incident which occurred on
defendant's premises and defendant is not legally liable for such damages.
                                                  19.


           FURTHER ANSWERING, Plaintiff failed to state a claim upon which relief can be
granted.

                                                  20.


       FURTHER ANSWERING, defendant avers that it is entitled to a credit for any payments

made to or on behalf of the plaintiff for damages complained of by the plaintiff in his Petition

herein, whether those payments be made by an individual party or some other entity for past or

future damages related to the subject incident.

                                                  21.


       FURTHER ANSWERING, defendant avers that the subject medical condition

complained of in plaintiffs Petition for damages pre-existed the date of the alleged incident and

as such, defendant may only be liable to the extent that the alleged incident aggravated said pre

existing condition.

                                                  22.


       Plaintiffs claims are barred, in whole or in part, by the doctrine of intervening and/or

superseding cause.

                                                  23.


       Plaintiffs claims are barred, in whole or in part, based on the lack of causation between

Plaintiffs alleged damages and injuries and any conduct of defendant; such alleged damages or
injuries being caused by the action and/or omissions ofothers over whom defendant exercised no
control.
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                                                  24.


       Defendant avers that the condition which Plaintiff has alleged caused Mr. Bernard to fall

was open and obvious, and that any such incident which occurred was the sole and proximate

fault on the part of plaintiff herein, Kenneth Bernard, for the following non-exclusive particulars:

       1. Failing to see what he should have seen;

       2. Failing to maintain a proper lookout;

       3. Failing to act as a prudent person under the circumstances;

       4. Failing to avoid an open and obvious condition; and

       5. Any and all other acts of negligencewhich will be shown at the trial of this matter.

                                                  25.


       FURTHER ANSWERING, defendant prays for a Trial by Jury on all issues.

       WHEREFORE, defendant, DG LOUISIANA, LLC, prays that this answer be deemed

good and sufficient and after due proceedings are had, there be judgment herein in it favor,

dismissing plaintiffs suit, with prejudice, at his cost. Further, defendant prays for a jury trial on

all issues andthen for all general and for all general andequitable relief available.




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                                    Respectfully submitted,

                                    /s/Peter J. Wanek
                                    PETER J. WANEK, T.A. (Bar No. 23353)
                                    KATHRYN T. TREW (Bar No. 34116)
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                                    ATTORNEYS FOR DEFENDANT
                                    DG LOUISIANA, LLC




                               CERTIFICATE OF SERVICE


       I hereby certify that a copy of the above and foregoing pleading has been served upon all

counsel of record by using the CM/ECF filing system, this 20   Day of October, 2015.



                                            /s/Peter J, Wanek
